Case 1:11-cv-20427-KMW Document 635-2 Entered on FLSD Docket 11/15/2013 Page 1 of 8




            EXHIBIT 1
Case 1:11-cv-20427-KMW Document 635-2 Entered on FLSD Docket 11/15/2013 Page 2 of 8




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 11-20427-WILLIAMS-TURNOFF


   DISNEY ENTERPRISES, INC.,
   TWENTIETH CENTURY FOX FILM CORPORATION,
   UNIVERSAL CITY STUDIOS PRODUCTIONS LLLP,
   COLUMBIA PICTURES INDUSTRIES, INC., and
   WARNER BROS. ENTERTAINMENT INC.,

   Plaintiffs,

   v.

   HOTFILE CORP., ANTON TITOV, and
   DOES 1-10.

    Defendants.
                                                       /

   HOTFILE CORP.,

   Counterclaimant,

   v.

   WARNER BROS. ENTERTAINMENT INC.,

   Counterdefendant.
                                                       /




        DEFENDANTS’ DESIGNATIONS OF DEPOSITION TESTIMONY FOR TRIAL

            Defendants Hotfile Corporation and Anton Titov hereby provide their designations of

   witness deposition testimony for trial pursuant to Federal Rule of Civil Procedure 26(a)(3)(A)(ii)

   and Southern District of Florida Local Rule 16.1(e)(10).




   26501\3920570.1                                 1
Case 1:11-cv-20427-KMW Document 635-2 Entered on FLSD Docket 11/15/2013 Page 3 of 8




                                      Disney v. Hotfile

       DEFENDANTS’ DEPOSITION DESIGNATIONS BY PAGE AND LINE NUMBER

          Deponent         Date                      Page and Line Number
   Bentkover, Michael   12/13/2011   9:15-10:3; 10:16-22; 17:2-18:6; 18:19-24; 19:8-9; 20:20-
                                     21:10; 21:13-22:17; 24:21-25:6; 26:19-27:1; 26:25-27:5;
                                     27:4-22; 27:22-28:6; 28:5-24; 29:7-18; 30:15-31:20;
                                     31:20-32:9; 33:2-7; 34:11-35:8; 36:9-37:6; 37:19-38:4;
                                     37:24-38:4; 38:3-6; 38:6-24; 38:24-39:10; 39:20-40:9;
                                     43:15-44:15; 44:15-22; 44:22-45:4; 45:3-18; 47:4-13;
                                     48:1-51:11; 50:24-52:2; 51:8-11; 52:2-9; 52:5-13; 53:5-
                                     24; 53:24-54:4; 54:4-18; 54:18-25; 67:23-69:14; 71:10-24;
                                     73:24-74:19; 76:1-7; 76:7-16; 76:22-77:5; 78:14-79:1;
                                     79:22-81:16; 81:15-22; 81:22-82:2; 84:21-85:3; 85:2-17;
                                     85:14-25; 85:25-86:6; 86:12-19; 86:18-87:10; 87:9-16;
                                     87:15-21; 87:20-88:2; 97:3-6; 97:5-10; 97:9-21; 108:4-11;
                                     108:10-15
   Griffin, Lance       12/22/2011   46:24-49:18; 51:15-52:25; 58:14-63:11 (Ex. 1); 64:12-
                                     67:6 (Ex. 2); 71:9-75:1 (Ex. 4); 104:5-105:6; 115:15-25;
                                     119:24-120:3 (Ex. 6); 128:15-129:21; 131:22-24; 133:16-
                                     134:1; 134:16-22; 169:18-21; 173:5-174:11; 176:1-177:17
   Kang, Steven         12/20/2011   35:2-38:10; 43:8-15; 46:9-48:25; 100:13-104:11; 116:17-
                                     22; 165:1-9; 207:23-208:17; 208:19-209:2
   Kaplan, David        10/12/2011   14:24-16:6; 16:10-17:21; 18:13-23; 18:24-20:20; 21:25-
                                     22:8; 29:14-30:1; 32:22-33:14; 33:15-20; 34:25-35:12;
                                     36:11-13; 37:20-38:18; 43:12-17; 44:5-14; 44:15-45:1;
                                     45:20-46:21; 49:17-50:5; 54:7-13; 58:16-18; 58:18-25;
                                     59:1-5; 59:6-21; 59:22-60:5; 60:6-17; 61:4-63:12; 65:6-
                                     25; 71:9-25; 72:1-7; 73:13-76:15; 76:16-77:20; 77:21-
                                     78:3; 78:17-25; 79:1-7; 79:8-21; 79:22-81:5; 81:6-13;
                                     83:1-87:15; 87:16-88:4; 89:20-23; 90:12-23; 91:11-16;
                                     91:17-21; 92:3-23; 95:16-18; 95:21-24; 98:18-100:18;
                                     100:23-102:14; 102:21-105:2; 105:3-16; 105:17-106:14;
                                     110:1-5; 112:6-9; 112:24-114:12; 115:3-19; 117:12-15;
                                     118:1-11; 119:14-21; 119:22-25; 120:1-22; 121:11-15;
                                     121:16-18; 125:9-14; 126:6-127:14; 127:9-14; 129:21-
                                     130:3; 130:7-21; 134:2-17; 142:12-144:16; 145:11-17;
                                     152:2-12; 152:18-153:11; 160:2-19; 169:11-25; 170:1-7;
                                     170:8-17; 173:14-19; 174:6-25; 175:1-177:1; 179:9-181:9;
                                     183:25-184:7; 184:8-10; 184:11-13; 185:23-187:23;
                                     188:22-189:8; 195:6-23; 195:24-197:9; 198:14-25; 202:2-
                                     15; 203:3-14; 203:15-25; 204:1-10; 204:10-13; 204:13-17;
                                     205:22-206:19; 206:20-25; 207:20-209:5; 209:5-9;



   26501\3920570.1                            2
Case 1:11-cv-20427-KMW Document 635-2 Entered on FLSD Docket 11/15/2013 Page 4 of 8




          Deponent       Date                      Page and Line Number
                                   210:11-12; 215:16-21; 216:8-21; 218:14-20; 224:11-
                                   225:21; 226:4-12; 226:18-227:1; 227:2-22; 228:13-
                                   229:11; 230:4-4; 230:4-8; 230:7-8; 230:8-16; 232:9-16;
                                   232:23-233:7; 233:8-16; 235:3-237:6; 238:13-22; 239:18-
                                   19; 240:18-22; 240:23-243:5; 244:9-17; 244:18-23; 245:6-
                                   246:1; 247:3-248:1; 249:19-250:9; 251:22-252:13;
                                   252:14-253:10; 253:15-254:3; 254:4-9
   Kaplan, David      12/13/2011   11:4-12:3; 21:17-22; 22:8-20; 24:23-25:6; 25:4-12; 31:14-
                                   33:10; 33:11-19; 33:22-34:6; 34:7-11; 35:1-11; 35:12-21;
                                   35:23-36:14; 36:15-37:1; 37:10-15; 51:9-25; 53:1-14;
                                   54:25-55:3; 55:5-20; 59:4-19; 61:11-62:13; (Ex 26); 78:4-
                                   10; 82:22-86:18; 86:20-87:1; 87:1-6; 89:2-13; (Ex. 27);
                                   90:24-91:16; (Ex. 22)
   Kaplan, David      12/14/2011   121:17-122:16; 124:3-8; 126:8-22; 128:8-132:16; 139:17-
                                   140:20; 151:8-10; 172:14-175:24; (Ex. 28); 184:19-
                                   186:15; (Ex. 30); 190:12-191:22; (Ex. 31); 207:6-19;
                                   220:18-221:3; 221:11-222:8
   Perkins, Braxton   12/16/2011   16:4-5; 17:5-10; 18:17-25; 50:22-52:16; 80:7-12; 80:19-
                                   22; 109:7-112:6; (Ex. 24); 112:1-6; 132:6-133:15; 136:24-
                                   137:4; 137:13-25; 138:2-10; 150:11-20; 159:3-166:3;
                                   162:14-25; 163:7-18; 167:9-24; 168:16-24; 169:5-18;
                                   207:9-208:15 (Ex. 54); 212:21-213:21; 217:6-23; 220:16-
                                   23; 221:1-18; 236:14-238:21; 245:2-246:6
   Seabrook, Carly    12/16/2011   8:22-25; 9:19-12:8 (Ex. 41); 20:19-21:3
   Sehested, Thomas   12/21/2011   27:17-19; 28:7-23; 29:25-30:20; 35:14-22; 37:19-23;
                                   40:8-15; 46:18-47:8; 50:8-20; 84:4-14 (Ex. 7); 98:9-25;
                                   107:7-108:9 (Ex. 8); 120:18-122:14 (Ex. 9); 136:12-
                                   138:2; 187:20-23
   Solmon, Vicki      12/9/2011    21:15-24; 60:23-61:7; 63:13-18; 72:24-73:5; 81:5-11;
                                   81:19-82:20; 83:19–24; 87:07-89:19 (Ex. 4); 91:22-93:1;
                                   94:4-95:6; 117:3-121:21 (Ex. 25); 119:4-120:10; 128:12-
                                   129:16; 140:8-141:4; 167:9-169:11 (Ex. 9); 194:14-
                                   197:19
   Solmon, Vicki      12/23/2011   190:7-195:7; 244:15-245:6 (Ex. 12); 246:6-247:14;
                                   272:15-274:17 (Ex. 14); 274:19-275:10; 278:14-288:19
                                   (Exs. 16, 17 and 18)
                      12/8/2011    8:21-25; 9:7-12; 17:5-18:22; 18:23-19:5; 18:23-22:20;
                                   19:6-20:2; 21:3-22:22; 24:13-26:2; 25:5-26:2; 51:3-52:1;
                                   54:8-54:14; 64:16-65:8; 68:22-69:12; 70:2-7; 79:10-14;
                                   81:8-83:11; 81:16-82:16; 83:3-11; 83:21-84:4; 85:9-14;
                                   86:14-16; 88:22-89:24; 90:22-91:5


   26501\3920570.1                          3
Case 1:11-cv-20427-KMW Document 635-2 Entered on FLSD Docket 11/15/2013 Page 5 of 8




          Deponent       Date                      Page and Line Number
   Suh, Kevin         12/20/2011   59:13-64:4; 59:16-60:8; 60:10-16; 60:17-24; 61:18-21;
                                   61:22-62:4; 63:9-15; 65:2-5; 106:11-107:21; 164:12-
                                   165:7; 217:25-220:5; 219:25-223:18; 223:19-225:4;
                                   227:25-230:16 (Ex. 12); 231:20-232:12; 235:1-3; 235:4-
                                   13; 236:1-19; 238:11-22; 238:15-22; 238:23-239:10;
                                   239:12-20; 242:17-19; 250:23-251:7; 251:8-14
                      12/7/2011    11:8-19; 26:6-25; 27:1-22; 27:23-28:14; 28:22-29:5;
                                   37:12-24; 38:23-25; 39:7-10; 41:1-22; 42:5-12; 42:14-
                                   43:14; 47:15-22; 100:15-101:17; 101;18-23; 106:11-
                                   107:21; 108:22-109:11; 122:24-123:22; 139:1-7; 151:21-
                                   152:5; 153:14-154:7; 153:14–155:1; 155:21-156:12;
                                   156:13-157:24; 158:3-11; 159: 8-1; 159: 16-18; 160:13-
                                   18; 161:10-16; 162:22-25; 163:25-164:16; 164:12-165:7
   Wang, Yangbin      12/22/2011   13:20-14:6; 42:23-43:8; 44:9-13; 45:1-46:9; 47:23-48:5;
                                   48:6-9; 48:22-49:19; 49:20-23; 50:1-25; 51:23-52:4; 52:6-
                                   11; 52:13-53:1; 53:2-14; 53:15-21; 53:23-54:9; 56:16-25;
                                   58:3-11; 59:6-14; 59:24-60:10; 61:21-25; 67:7-21; 68:25-
                                   69:5; 72:6-17; 72:18-73:11; 84:7-15; 105:23-107:22
   Zedek, Betsey      12/13/2011   26:23-27:10; 46:20-47:6; 52:11-20; 59:12-22; 66:12-21;
                                   67:16-68:7; 75:24-76:1; 80:4-7; 80:17-81:9; 109:12-
                                   111:16 (Ex. 18); 113:3-14 (Ex.18); 116:4-117:25 (Ex. 12);
                                   119:8-120:6 (Ex. 18); 120:9-121:1 (Ex. 18); 122:3-128:6
                                   (Ex. 18); 130:16-22 (Ex. 18); 132:10-133:5; 136:18-
                                   138:24; 156:20-24; 166:22-25; 168:15-20; 175:10-14;
                                   175:16-176:15; 190:13-191:8; 195:12-19; 198:12-199:5
                                   (Ex. 22); 201:5-18; 201:23-203:4 (Ex. 23); 204:8-205:1
                                   (Ex. 18); 206:5-9; 213:2-8; 217:6-14




   26501\3920570.1                          4
Case 1:11-cv-20427-KMW Document 635-2 Entered on FLSD Docket 11/15/2013 Page 6 of 8
Case 1:11-cv-20427-KMW Document 635-2 Entered on FLSD Docket 11/15/2013 Page 7 of 8




                                          PROOF OF SERVICE
            I, LouAnne Laflamme, declare:

            I am a citizen of the United States and employed in San Francisco County, California. I

   am over the age of eighteen years and not a party to the within-entitled action. My business

   address is 235 Montgomery Street, 17th Floor, San Francisco, California 94104. My e-mail

   address is llaflamme@fbm.com. On October 15, 2013, I served a copy of the within

   document(s):

                     DEFENDANTS’ DESIGNATIONS OF DEPOSITION
                     TESTIMONHY FOR TRIAL

          :          by transmitting via e-mail the document(s) listed above to the e-mail addresses set
                     forth below on this date.

                     by placing the document(s) listed above in a sealed envelope with postage thereon
                     fully prepaid, in the United States mail at San Francisco, California addressed as
                     set forth below.

                     by placing the document(s) listed above in a sealed                envelope and
                     affixing a pre-paid air bill, and causing the envelope to be delivered to a
                                   agent for delivery.

                     by personally delivering the document(s) listed above to the person(s) at the
                     address(es) set forth below.

                     by transmitting via facsimile the document(s) listed above to the fax number(s) set
                     forth below on this date before 5:00 p.m.


             Luke C. Platzer, Esq.
             Steven B. Fabrizio, Esq.
             Jenner & Block
             1099 New York Avenue, N.W.
             Suite 900
             Washington, DC 20001-4412
             Telephone: (202) 639-6094
             Fax:         (202) 639-6068
             Email:       lplatzer@jenner.com
                          sfabrizio@jenner.com

             Attorneys for Plaintiffs
             Disney Enterprises, Inc., Twentieth Century Fox Film Corporation, Universal City
             Studios Productions LLP, Columbia Pictures Industries, Inc., Warner Bros.
             Entertainment Inc.


   26501\3920570.1                                    6
Case 1:11-cv-20427-KMW Document 635-2 Entered on FLSD Docket 11/15/2013 Page 8 of 8
